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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA,                             §
                                                      §
          Plaintiff,                                  §
VS.                                                   §   MAGISTRATE ACTION NO. C-05-296(03)
                                                      §
LUISA RAMIREZ PEREZ,                                  §
                                                      §
          Defendant.                                  §


                           ORDER OF DETENTION PENDING TRIAL


         A detention hearing has been held in accordance with the Bail Reform Act, 18 U.S.C. § 3142(f).

There is a serious risk that the defendant will not appear for court as required.

         The evidence against the defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report are adopted. The defendant is a resident alien and

faces deportation if convicted. She has relatives in Mexico, and the nature of the offense she committed

suggests extensive contacts with Mexico.

         The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a

reasonable opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the Government, the person in charge of the corrections facility




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shall deliver the defendant to the United States marshal for the purpose of an appearance in connection

with a court proceeding.

         ORDERED this 20th day of May, 2005.




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